                                                                                               05/18/18


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  MARTESE JOHNSON,                                   )
                                                     )
                                                     )
  Plaintiff,                                         )    Civil Action No.: 3:15-cv-55
                                                     )
  v.                                                 )
                                                     )
  DEPARTMENT OF ALCOHOLIC                            )    By: Hon. Robert S. Ballou
  BEVERAGE CONTROL, et al.,                          )    United States Magistrate Judge
                                                     )
  Defendants.                                        )
                                                     )

                            SETTLEMENT CONFERENCE ORDER

         This case has been referred to the Magistrate Judge for a settlement conference. To

  facilitate the just and expeditious resolution of this case, it is ORDERED as follows:

         1.      All parties and their lead counsel are required to appear at the settlement

  conference scheduled in the United States District Court, First Floor Grand Jury Suite, 255

  W. Main Street, Charlottesville, Virginia, at 9:00 a.m. on Tuesday, July 10, 2018, and

  ending at 2:00 p.m., for the purpose of conducting discussions, in good faith, towards a

  compromise resolution of this case. Other court proceedings will be scheduled beginning at

  2:00 p.m., so the parties need to be prepared to conclude their negotiations during the time

  scheduled. The mediation may continue past 2:00 p.m. as the court’s schedule allows, so

  parties are not to make travel arrangements or schedule return flights earlier than 6:00 p.m.

         2.      At the settlement conference, the parties should be prepared to provide a brief

  presentation outlining the factual and legal highlights of the case to be followed by separate

  confidential caucuses with the Magistrate Judge.




Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 1 of 6 Pageid#: 5065
           3.        Each party must bring to the settlement conference a person who is

  knowledgeable about the facts of the case and who has final authority up to the highest amount

  of the party’s evaluation of the case value, to be employed at that person’s discretion, to resolve

  all facets of the case without having to seek or obtain additional authority from persons not in

  attendance.1 No party or party representative may appear at the settlement conference via

  telephone without first obtaining court approval. If there are issues involving medical or other

  liens, a representative with authority for the lien holder shall attend and participate in the

  settlement conference. The requirements of this paragraph may only be waived by the

  Magistrate Judge.

           4.        Prior to the settlement conference, the parties should make good faith efforts to

  negotiate and settle the case. Specific proposals and counter proposals beyond the initial offer

  and demand should be exchanged. This exchange shall include drafts of any proposed settlement

  agreement so that the parties may discuss the terms of the proposed settlement agreement and

  identify those terms which are agreeable and those terms which are not agreeable to any party.

           5.        The substantive negotiations at the settlement conference are CONFIDENTIAL

  and may not be used by the parties for any purpose other than settlement. The parties and

  representatives attending or participating in the settlement conference are required to negotiate in

  good faith.

           6.        The parties are advised that during the course of the settlement conference, it is

  expected and understood that the Magistrate Judge will provide legal information and evaluation



  1 If final authority to settle is vested only in a governing board, claims committee, or equivalent body and cannot be
  delegated to a representative, an entity must disclose (in writing or electronically) this fact to all other parties and the
  Magistrate Judge at least 14 days before the mediation session will occur. The required disclosure must identify the
  board, body, or person in whom final settlement authority is vested. In this instance, the party must send the person
  (in addition to counsel of record) who has, to the greatest extent feasible, authority to recommend a settlement, and
  who is knowledgeable about the facts of the case, the entity’s position, and the procedures and policies under which
  the entity decides whether to accept proposed settlements.
                                                               2

Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 2 of 6 Pageid#: 5066
  to aid the parties in making informed decisions. Such legal information and evaluation includes,

  for example, assessing the strength and weaknesses of factual and legal positions, the value and

  costs of alternatives to settlement, and any barriers to settlement. By participating in a settlement

  conference with the Magistrate Judge, the parties are deemed to have requested and consented to

  such an evaluative approach. Should a party not be interested in an evaluative approach, they

  should so advise the Magistrate Judge. In that case, the settlement conference will be cancelled,

  and the parties may avail themselves of private mediation.

         7.      The parties are further advised that (i) the Magistrate Judge does not provide legal

  advice; (ii) any agreement reached at the settlement conference may affect the legal rights of the

  parties; (iii) each party has the opportunity to consult with independent legal counsel at any time

  and is encouraged to do so; and (iv) each party should have any draft settlement agreement

  reviewed by independent counsel prior to signing the agreement.

         8.      Counsel for the parties shall schedule a conference call with the court

  approximately fourteen (14) days in advance of the settlement conference to discuss the issues in

  the case, the settlement conference process, and any unusual circumstances or questions. Such

  initial communications should involve all parties. Thereafter, the parties may raise confidential

  or strategic considerations with the Magistrate Judge on a separate and confidential basis.

         9.      The parties shall submit a brief statement as to their factual and legal

  position on or before Tuesday, July 3, 2018. The parties may submit this statement in either

  memorandum or letter form. The parties are required to exchange statements so that the

  opposing side may have a complete understanding of each side’s position. The statements

  should address relevant factual issues, legal position, and the history of any settlement demands

  or offers in the case. The statement must identify the persons who will be present at the

  settlement conference, their positions, and the basis for their authority to resolve the case.

                                                    3

Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 3 of 6 Pageid#: 5067
  Finally, the statement shall include an affirmative representation that the persons attending the

  settlement conference will meet the authority requirement of paragraph 3 of this Order. This

  statement should not be electronically filed but is to be emailed to

  ballou.ecf@vawd.uscourts.gov. The parties may also submit a separate statement to the

  Magistrate Judge relating confidential or strategic issues affecting settlement.

         10.     Submissions to the court in preparation for settlement conference should total no

  more than fifty (50) pages combined, including exhibits.

         11.     If the case is resolved at the settlement conference, the parties will be required to

  execute a settlement agreement that day. Therefore, the parties shall bring an electronic version

  of the proposed settlement agreement, in Word format, to the conference to facilitate preparation

  and execution of the settlement agreement.

         12.     If a party appears at the settlement conference without having complied with the

  requirements of this Order or fails to negotiate in good faith at the settlement conference, the

  Magistrate Judge may continue or cancel the settlement conference, and may assess against the

  non-complying party, attorney, or both, a monetary sanction, which may include the fees and

  expenses incurred by the other parties in attending the settlement conference.

         13.     For additional guidance on mediation preparation, parties may refer to Exhibit A

  attached to this Order.

                                                        Entered: May 18, 2018


                                                        Robert S. Ballou
                                                        Robert S. Ballou
                                                        United States Magistrate Judge




                                                   4




Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 4 of 6 Pageid#: 5068
                       SETTLEMENT CONFERENCE PREPARATION

         The party who is best prepared for a settlement conference usually obtains the best result.
  Settlement conferences can be held more efficiently if all parties and counsel are prepared. The
  following are some areas to consider in order to facilitate an effective and productive settlement
  conference.

  A.     Format

         1.       Parties with ultimate settlement authority must be personally present.

         2.       The court will use a mediation format, and private caucusing with each side; the
                  judge may address your client directly.

         3.       Do you want a summary jury trial, arbitration, mini-trial or other procedure
                  instead of/after this conference? If so, or if you want to know more about these
                  processes, please contact the court so a conference call to discuss options can be
                  arranged. Have you discussed these options with your client?

  B.     Issues

         1.       What issues (in and outside of this lawsuit) need to be resolved? What are the
                  strengths and weaknesses of each issue? What is your most persuasive argument?

         2.       What remedies are available resulting from this litigation or otherwise?

         3.       Is there any ancillary litigation pending or planned which affects case value?

         4.       Do you have enough information to value the case? If not, how are you going to
                  get more information before the conference?

         5.       Do attorney’s fees or other expenses affect settlement? Have you communicated
                  this to the other side?

  C.     AUTHORITY

         1.       Are there outstanding liens? Have you verified amounts and whether they are
                  negotiable? Has any lien holder compromised its lien or is a representative from
                  the lien holder with authority scheduled to attend the settlement conference?

         2.       Is there valid insurance coverage? In what amount? If coverage is at issue, or the
                  amount or type of insurance coverage affects settlement value, have you notified
                  the other side? Do we need to include the representative from more than one
                  company/carrier? If so, notify the court immediately with this information.

  D.     NEGOTIATIONS
                                             Exhibit A - 1


Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 5 of 6 Pageid#: 5069
        1.     Where have your last discussions ended? Are you sure?

        2.     Can you have any discussions before the settlement conference to make it proceed
               more efficiently?

        3.     What value do you want to start with? Why? Have you discussed this with your
               client?

        4.     What value do you want to end with? Why? Have you discussed this with your
               client? Is it significantly different from values you have placed on this case at
               other times?

        5.     Is there confidential information which affects case value? Why
               can’t/won’t/shouldn’t it be disclosed? How can the other side be persuaded to
               change value if it does not have this information?

        6.     What happens if you do not settle the case at the conference? What is your best
               alternative to a negotiated settlement? Why?

        7.     Do you have an agreed form of the settlement agreement? If not, what terms, i.e.
               confidentiality, are at issue?

  E.    CLOSING

        1. If settlement is reached, do you want it on the record?

        2. Have you discussed settlement formats with your client? Does the client understand
           structured settlements, annuities, Rule 68 offers to compromise?

        3. How soon could checks/closing documents be received?

        4. If settlement is not reached, and further discovery is needed, what is your plan for
           continued settlement discussions? Do you want court involvement in these talks?

        5. If settlement is not reached, be prepared to discuss it again at the Final Pretrial
           Conference.




                                          Exhibit A - 2


Case 3:15-cv-00055-NKM-JCH Document 227 Filed 05/18/18 Page 6 of 6 Pageid#: 5070
